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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             WICHITA FALLS DIVISION

WHITNEY RICKMAN AND                         §
BRYCE RICKMAN, INDIVIDUALLY,                §
AND AS NEXT FRIENDS OF                      §
BRYCE CALEB RICKMAN, A MINOR                §
                                            §
         Plaintiffs                         §
                                            §            CIVIL ACTION NO. _________
VS.                                         §
                                            §
GRADIE E. MOORE, M.D.,                      §
TEXOMA WOMEN’S CLINIC, P.A.,                §
LAURA SHERMAN CASILLAS, R.N.,               §
AND UNITED REGIONAL                         §
HEALTHCARE SYSTEM, INC.                     §
                                            §
                                            §
         Defendants                         §


                          PLAINTIFFS’ ORIGINAL COMPLAINT


         1.     Whitney Rickman and Bryce Rickman, Individually, and as next friends of

Bryce Caleb Rickman, a minor (hereafter also referred to as “Plaintiffs”) file this

complaint, in which all of the above individuals join, complaining of Gradie E. Moore,

M.D., Texoma Women’s Clinic, P.A., Laura Sherman Casillas, R.N., and United

Regional Healthcare System, Inc. (hereafter also referred to as Defendants) in its legal,

assumed or common name, and for cause of action would show the Court the following:

                                PARTIES – PLAINTIFFS

         2.     Whitney Rickman and Bryce Rickman are citizens and domiciliaries of

Shelby Township, Michigan. They are the natural parents of Bryce Caleb Rickman, a

minor.



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         3.   Bryce Caleb Rickman is the natural, minor son of Whitney Rickman and

Bryce Rickman. He is a citizen and domiciliary of Shelby Township, Michigan. Whitney

Rickman and Bryce Rickman are bringing claims on behalf of this minor as his next

friends.

                               PARTIES – DEFENDANTS

         4.   Defendant, Gradie E. Moore, M.D. (hereafter also referred to as “Dr.

Moore”) at all times relevant to the instant litigation is believed to have been a resident

and domiciliary of Wichita County, Texas. Dr. Moore may be served at her reported

residence, 4804 Augusta Ln., Wichita Falls, TX 76302; at her place of business,

Texoma Women’s Clinic, P.A., 1601 Ninth St., Suite B, Wichita Falls, TX 76301 or

anywhere she may be found.

         5.   Defendant, Texoma Women’s Clinic, P.A. (hereafter also referred to as

“TWC”) is a professional association licensed to do business in the State of Texas, with

its principal place of business and nerve center in Wichita Falls, Texas. It has appointed

a registered agent for service and may be served with citation through such registered

agent for service: Ryan J. Bannon, 1601 Ninth St., Suite B, Wichita Falls, TX 76301.

         6.   Laura Sherman Casillas, R.N. (also hereafter referred to as “Casillas”) is

and at all times relevant to this instant litigation was a registered nurse licensed to

practice in the State of Texas. Ms. Casillas is a resident and domiciliary of Wichita

County, Texas. Laura Sherman Casillas, R.N. can be served with citation at her

reported residence, 4711 Matterhorn, Wichita Falls, TX 76301 or anywhere she may be

found.




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      7.      United Regional Healthcare System Inc. (hereafter also referred to as

“United Regional”) is a domestic nonprofit corporation licensed to do business in the

State of Texas with its principal place of business and nerve center in Wichita Falls,

Texas. It has appointed a registered agent for service and may be served with citation

through such registered agent for service: Phyllis Cowling, 1600 Eleventh Street,

Wichita Falls, TX 76301.

                             JURISDICATION AND VENUE

      8.      Plaintiffs’ damages, individually and jointly, exceed the jurisdictional limits

of this Court, excluding interest and costs. Each of the Defendants has engaged in

continuous and systematic business in Texas and in the Wichita Falls Division and the

incident in question arises directly from such business contacts.

      9.      Further, this Court has diversity, subject matter jurisdiction of this matter

because there is a complete diversity between each and all of the Plaintiffs and

Defendants.

      10.     Venue is proper in the Northern District of Texas, Wichita Falls Division as

the incident giving rise to this action accrued in whole or in part in Wichita County,

Texas.

                              STATUTORY COMPLIANCE

      11.     Plaintiffs have given Defendants notice of this healthcare claim.

Alternatively, all conditions precedent to Plaintiffs’ recovery under all causes of action

set forth herein have been performed or have occurred.

      12.     Further, in the event, Defendants contend or allege that Plaintiffs have not

filed their claims timely or in conformance with the applicable statute of limitations,



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Plaintiffs allege in response that Plaintiffs have been impeded in so complying with such

statutes of limitation and other applicable statutory requirements because of

Defendants’ fraudulent concealment of wrongful conduct and spoliation of evidence

material to Plaintiffs’ claims.

                                          FACTS

       13.      Whitney Rickman was pregnant with a due date of February 21, 2014.

       14.      Whitney Rickman was 4 feet 9 inches tall and had gestational diabetes

during her pregnancy.

       15.      Whitney Rickman requested an elective Cesarean delivery which was

denied by Dr. Gradie Moore.

       16.      Whitney Rickman was admitted to United Regional Hospital in Wichita

Falls, Texas on February 16, 2014 for induction of labor.

       17.      During the induction, the fetal monitor tracing was characterized by

nursing personnel as “Category I” and “Category II” until 1050 on February 18 when it

was documented to be “Category III.”

       18.      No nursing interventions were undertaken in the presence of a

documented “Category III” fetal monitoring strip and Dr. Moore was not notified of the

critical fetal monitor tracing. Pitocin continued to be administered.

       19.      Bryce Caleb Rickman was born on February 18, 2014 at 1130. He as

depressed at birth with Apgar scores of 1, 4, and 4 at one, five, and ten minutes

respectively.




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       20.    Bryce Caleb Rickman had to be transferred for a higher level of care to

Cook’s Children’s Hospital in Fort Worth where he spent 21 days in the neonatal

intensive care unit.

       21.    Bryce Caleb Rickman has been diagnosed with hypoxic-ischemic

encephalopathy and Cerebral Palsy.

       22.    The foregoing facts (paragraphs 13 – 21) also cumulatively shall be

referred to as the “occurrence in question.”

       23.    Bryce Caleb Rickman’s injuries are permanent, irreversible and could

have been prevented with proper care during the labor and delivery process.

                                 CAUSES OF ACTION
                                MEDICAL NEGLIGENCE

       24.    Defendants Gradie E. Moore, M.D. (Dr. Moore), Texoma Women’s Clinic,

P.A. (TWC), Laura Sherman Casillas, R.N. (Casillas), and United Regional Healthcare

System, Inc. (United Regional) created a duty to the Plaintiffs when they accepted

Whitney Rickman, as a patient. Upon Defendants' acceptance of Whitney Rickman, as

a patient, Defendants each accepted not only the responsibility, but also the liability and

accountability for her healthcare and the healthcare of her baby. At all times material

hereto, Whitney Rickman and her baby, Bryce Caleb Rickman, were patients of

Defendants.

       25.    Defendants, individually and/or through their agents, servants, borrowed

servants and/or employees, were negligent and violated the duty of care owed to

Whitney Rickman and her baby, Bryce Caleb Rickman, as patients. More specifically,

Defendants were negligent in that they failed to do that which physicians or healthcare

providers of ordinary care and prudence would have done under the same or similar


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circumstances. Plaintiffs allege that their damages, as described herein below, were

proximately caused by various negligent acts of omission and commission, jointly,

severally, and/or individually by the Defendants, their agents and/or employees.

       26.    At all times material hereto Defendants Laura Sherman Casillas, R.N. and

United Regional Healthcare System, Inc. are jointly liable for the negligent acts of the

other because Defendants were involved in a joint enterprise, joint venture, and/or

partnership when committing all referenced negligent acts and/or omissions.

Defendants had an agreement, both express and implied, with the common purpose of

engaging in the practice of medicine, specifically, to provide medical care and services

to patients of the joint enterprise, joint venture, and/or partnership. The Defendants

shared a community of pecuniary interest in this common purpose, agreed to share

profits and losses, and each Defendant had an equal right to direct and control the

enterprise, venture and/or partnership. Therefore, Defendants Laura Sherman Casillas,

R.N. and United Regional Healthcare System, Inc. are liable to Plaintiffs under the

theories of joint enterprise, joint venture, and/or partnership for the negligent acts and/or

omissions of each other.

       27.    At all times material hereto Defendants Gradie E. Moore, M.D. and

Texoma Women’s Clinic, P.A. are jointly liable for the negligent acts of the other

because Defendants were involved in a joint enterprise, joint venture, and/or partnership

when committing all referenced negligent acts and/or omissions. Defendants had an

agreement, both express and implied, with the common purpose of engaging in the

practice of medicine, specifically, to provide medical care and services to patients of the

joint enterprise, joint venture, and/or partnership. The Defendants shared a community



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of pecuniary interest in this common purpose, agreed to share profits and losses, and

each Defendant had an equal right to direct and control the enterprise, venture and/or

partnership. Therefore, Defendants Dr. Moore and Texoma Women’s Clinic, are liable

to Plaintiffs under the theories of joint enterprise, joint venture, and/or partnership for the

negligent acts and/or omissions of each other.

       28.    At all times material hereto Defendant Casillas was acting as agent,

servant, and/or employee of United Regional. She was acting within the course and

scope of her employment with United Regional when committing all negligent acts

and/or omissions referenced herein. Therefore, United Regional is liable to Plaintiffs

under the doctrine of respondeat superior for Casillas’s negligent acts and/or omissions

referenced herein.

       29.    At all times material hereto Dr. Moore, was acting as agent, servant,

employee and/or vice principal of TWC. She was acting within the course and scope of

her employment with TWC when committing all negligent acts and/or omissions

referenced herein. Therefore, Defendant TWC is liable to Plaintiffs under the doctrine of

respondeat superior for Dr. Moore’s negligent acts and/or omissions referenced herein.

       30.    Whitney Rickman and her baby Bryce Caleb Rickman underwent medical

care and treatment by Dr. Moore, TWC, United Regional and Casillas. As a result of the

negligent medical care and treatment rendered by Dr. Moore, TWC, United Regional

and Casillas, Plaintiffs have sustained significant injuries and damages. The acts and

omissions alleged herein constituted joint and several negligence. These acts were

singularly and severally each a direct and foreseeable proximate cause of the injuries of

Bryce Caleb Rickman, as more specifically alleged below.



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                                  GRADIE E. MOORE, M.D.

       31.       The negligence of Gradie E. Moore, M.D. includes, but is not limited to,

the following:

                 a)    Failure to properly manage Whitney Rickman’s labor;

                 b)    Failure to accurately assess fetal well being by proper assessment
                       of the fetal heart rate monitor;

                 c)    Failure to properly obtain and interpret uterine activity information;

                 d)    Failure to properly manage Whitney Rickman’s labor in an
                       appropriate fashion;

                 e)    Failure to properly assess the feasibility of safe vaginal delivery;

                 f)    Failure to properly assess, manage, and treat Whitney Rickman
                       and her fetus in a timely manner;

                 g)    Failure to properly manage fetal distress;

                 h)    Failure to properly manage and monitor the labor and delivery to
                       prevent avoidable injury to the baby;

                 i)    Failure to properly safeguard against risks of Pitocin;

                 j)    Failure to timely perform a cesarean section;

                 k)    Failure to make timely preparations for cesarean section when
                       faced with fetal distress and/or decreased feasibility of safe vaginal
                       delivery; and

                 l)    Failure to keep mother and fetus out of harms’ way by anticipating
                       problems and reducing as much as possible the need for
                       emergency intervention.


                             TEXOMA WOMEN’S CLINIC, P.A.

       32.       The negligence of Texoma Women’s Clinic, P.A. in its corporate capacity

as a healthcare entity and acting vicariously by and through its vice-principals, servants,

agents and/or employees includes, but is not limited to, the following:


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             a)     Failure to properly manage Whitney Rickman’s labor;

             b)     Failure to accurately assess fetal well being by proper assessment
                    of the fetal heart rate monitor;

             c)     Failure to properly obtain and interpret uterine activity information;

             d)     Failure to properly manage Whitney Rickman’s labor in an
                    appropriate fashion;

             e)     Failure to properly assess the feasibility of safe vaginal delivery;

             f)     Failure to properly assess, manage, and treat Whitney Rickman
                    and her fetus in a timely manner;

             g)     Failure to properly manage fetal distress;

             h)     Failure to properly manage and monitor the labor and delivery to
                    prevent avoidable injury to the baby;

             i)     Failure to properly safeguard against risks of Pitocin;

             j)     Failure to timely perform a cesarean section;

             k)     Failure to make timely preparations for cesarean section when
                    faced with fetal distress and/or decreased feasibility of safe vaginal
                    delivery; and

             l)     Failure to keep mother and fetus out of harms’ way by anticipating
                    problems and reducing as much as possible the need for
                    emergency intervention.


                         LAURA SHERMAN CASILLAS, R.N.

      33.    The negligence of Casillas, includes, but is not limited to, the following:

             a)     Failure to properly assess Whitney Rickman and her fetus;

             b)     Failure to accurately assess fetal well being by proper assessment
                    of the fetal heart monitor;

             c)     Failure to communicate to the attending obstetrician and other
                    health care providers the need to evaluate and intervene with
                    Whitney Rickman’s labor;



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             d)     Failure to follow the chain of command within the hospital’s
                    hierarchy to take appropriate action to prevent injury to Bryce Caleb
                    Rickman;

             e)     Failure to appreciate and recognize the risks of continuing labor;

             f)     Failure to properly manage and monitor the labor and delivery to
                    prevent avoidable injury to the baby;

             g)     Failure to properly assess and monitor the frequency, duration,
                    strength, and resting tone of contractions;

             h)     Failure to properly safeguard against risks of Pitocin;

             i)     Failure to have and follow safe practices in monitoring and
                    reporting fetal heart tracings and caring for patients in labor in these
                    circumstances;

             j)     Failure to properly manage fetal distress;

             k)     Failure to manage Pitocin properly and to timely and accurately
                    communicate this information to Dr. Moore;

             l)     Failure to recognize and timely and accurately communicate
                    problems evident on the fetal monitor strips;

             m)     Failure to make timely preparations for cesarean section when
                    faced with fetal distress and/or decreased feasibility of safe vaginal
                    delivery;

             n)     Failure to keep mother and fetus out of harms’ way by anticipating
                    problems and reducing as much as possible the need for
                    emergency intervention.


                  UNITED REGIONAL HEALTHCARE SYSTEM, INC.

       34.   The negligence of United Regional Healthcare System, Inc., in its

corporate capacity as a healthcare entity and acting vicariously by and through its vice-

principals, servants, agents and/or employees includes, but is not limited to, the

following:




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             a)    Failure to properly assess Whitney Rickman and her fetus;

             b)    Failure to accurately assess fetal well being by proper assessment
                   of the fetal heart monitor;

             c)    Failure to communicate to the attending obstetrician and other
                   health care providers the need to evaluate and intervene with
                   Whitney Rickman’s labor;

             d)    Failure to follow the chain of command within the hospital’s
                   hierarchy to take appropriate action to prevent injury to Bryce Caleb
                   Rickman;

             e)    Failure to appreciate and recognize the risks of continuing labor;

             f)    Failure to properly manage and monitor the labor and delivery to
                   prevent avoidable injury to the baby;

             g)    Failure to properly assess and monitor the frequency, duration,
                   strength, and resting tone of contractions;

             h)    Failure to properly safeguard against risks of Pitocin;

             i)    Failure to have and follow safe practices in monitoring and
                   reporting fetal heart tracings and caring for patients in labor in these
                   circumstances;

             j)    Failure to properly manage fetal distress;

             k)    Failure to manage Pitocin properly and to timely and accurately
                   communicate this information to Dr. Moore;

             l)    Failure to recognize and timely and accurately communicate
                   problems evident on the fetal monitor strips;

             m)    Failure to make timely preparations for cesarean section when
                   faced with fetal distress and/or decreased feasibility of safe vaginal
                   delivery;

             n)    Failure to keep mother and fetus out of harms’ way by anticipating
                   problems and reducing as much as possible the need for
                   emergency intervention.

             o)    Failure to formulate, implement and enforce appropriate policies,
                   procedures and practices with regard to the above listed failures;
                   and


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                p)    Failure to formulate, implement appropriate training of employees
                      with regard to the above referenced areas of failing and to confirm
                      the competency of its employees to provide effective and safe
                      healthcare to conform to appropriate standards of care particularly
                      in situations as presented in connection with the occurrence in
                      question.

                                         DAMAGES

          35.   Plaintiffs have, as a direct and foreseeable result of the Defendants’ joint

and several negligence, as alleged herein, directly and/ or vicariously through their

respective vice-principals, agents and employees, sustained personal injury damages.

Bryce Caleb Rickman has sustained permanent and debilitating damage and harm to

the physical structure and/or nervous system of his body, as a direct and foreseeable

result of Defendants’ joint and several negligence, including the negligence of the

Defendants’ vice-principals, agents and employees, as alleged above, and all Plaintiffs

have sustained damages directly from such negligence, as described in greater detail

below.

                                    BRYCE CALEB RICKMAN

          36.   Bryce Caleb Rickman has sustained physical pain and mental anguish in

the past, which in reasonable probability will continue in the future. He has sustained

diminution of life enjoyment in the past, which in reasonable probability will continue in

the future. He has sustained physical impairment in the past, which in reasonable

probability will continue in the future. He has sustained physical disfigurement in the

past, which in reasonable probability will continue in the future. Bryce Caleb Rickman in

reasonable probability has sustained loss or diminution in his earning capacity in the

future.



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       37.    Bryce Caleb Rickman has incurred in the past reasonable and necessary

expenses for medical/cognitive/emotional and behavioral care and treatment, therapy,

consultation and rehabilitation, and in reasonable probability he will continue to incur

such expenses in the future. To the extent, as Bryce Caleb Rickman’s parents, Whitney

Rickman and Bryce Rickman on behalf of their minor child, Bryce Caleb Rickman, have

paid or incurred the above expenses or legal responsibility for such expenses for which

medical care providers retain the right to collect, they seek such expenses as their

damages. Further, to the extent the above such expenses continue to be incurred by

Bryce Caleb Rickman during his minority, for which his parents Whitney Rickman and

Bryce Rickman are legally responsible, Whitney Rickman and Bryce Rickman also seek

these future expenses as their damages. To the extent Bryce Caleb Rickman probably

will incur or incurs the above such expenses, in the future, beyond his minorit, and such

expenses are not his parents’ legal responsibility or incurred by them, Bryce Caleb

Rickman seeks such future expenses as his personal damages.

       38.    Plaintiffs each seek compensation from each of the Defendants for all the

above described actual damages deriving directly and foreseeably from the joint and

several negligence of Defendants, their vice-principals, agents and employees. While

each Plaintiff’s damages exceed the threshold requirements of this Court, Plaintiffs

prefer to leave the determination of the actual amounts of these damages solely to the

province of the jury. Plaintiffs request that damages be awarded in present value in an

amount determined by the jury to be fair and reasonable under the evidence considered

by them at time of trial, without regard to bias, sympathy or pity.




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       39.    Plaintiffs also plead for pre-judgment and post-judgment interest to the

highest amount allowed by applicable law, jointly and severally or severally, as

appropriate and for costs of Court.

                      HEALTHCARE LIABILITY CLAIM DAMAGES
                     DAMAGE LIMITATIONS UNCONSTITUTIONAL

       40.    In connection with any pleading by Defendants attempting to take

advantage of any alleged limitations of damages provision in Ch. 74 Tex. Civ. Prac. &

Rem. Code, Plaintiffs would show and allege that to the extent that any statute purports

to limit the amount of liability in medical malpractice actions as to medical care

providers, doctors or hospitals, any such statute or portion of such statute

unconstitutional. The aforesaid statutory provisions regarding limitation of damages

violate the Equal Protection Clause of both the Constitution of the United States (14th

Amendment) and the Constitution of the State of Texas (including but not limited to Art.

1§3). Moreover, or in the alternative, any such statutory attempt to limit the amount of

liability in medical malpractice actions under Ch. 74 Tex. Civ. Prac. & Rem. Code

violates Plaintiffs’ constitutional right to obtain full redress for injuries and death.

Additionally, such statute would violate the “Open Courts” provision of the Texas

Constitution. Accordingly, Ch. 74 Tex. Civ. Prac. & Rem. Code is unconstitutional under

both the Constitution of the State of Texas and the Constitution of the United States due

to its statutory intent to limit recovery in medical malpractice actions.

                                      JURY DEMAND

       41.    Plaintiffs demand a trial by jury for all issues so triable.




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                                         PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants be

cited and required to answer herein accordingly to law, that this cause be set for trial

before a jury, that Plaintiffs each recover judgment of and from Defendants for the

actual, compensatory and special damages pled in such a manner as the evidence may

show and the jury may determine to be proper, together with the costs of suit,

prejudgment interest, post-judgment interest, and such other and further relief to which

Plaintiffs may in law or in equity show themselves justly entitled.




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                                             Respectfully submitted,

                                             AVERSANO & GOLD




                                             /s/ Paul N. Gold

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